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IN THE UNITED STATES DISTRICT COURT _

FOR THE EASTERN DISTRICT OF TEXAS!) / DEC -7 Pi li: 39
MARSHALL DIVISION
ERICSSON INC., § Prt
TELEFONAKTIEBOLAGET LM § :
ERICSSON, § Case No. 2:15-cv-00011-RSP
§
Plaintiffs, §
§
V. §
§
TCL COMMUNICATION TECHNOLOGY — §
HOLDINGS, LTD., TCT MOBILE §
LIMITED, TCT MOBILE (US) INC, §
§
Defendants. §

VERDICT FORM

In answering the following questions, you are to follow the instructions I have given you.
Your answer(s) must be unanimous.

1. Has Ericsson proven by a preponderance of the evidence that TCL infringed lain 1 of the
*510 patent? Answer YES or NO.

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If you snes YES to question 1, move on to the remaining questions. If you answered
NO to question 1, do not answer any further questions.

2. Has Ericsson proven by a preponderance of the evidence that TCL infringed claim 5 of the
*510 patent? Answer YES or NO.
Nig

3, Ifyou find that TCL infringed, what sum of money, if paid today in cash, has Ericsson proven
by a preponderance of the evidence would compensate Ericsson for TCL’s infringement?
Answer in dollars and cents.

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* ok OR

 
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4, If you find that TCL infringed, has Ericsson proven by a preponderance of the evidence that
TCL’s infringement was willful? Answer YES or NO..

Ves

You have now reached the end of the verdict form and should review it to ensure it accurately
reflects your unanimous determinations. The jury foreperson should then sign and date the verdict
form and notify the bailiff that you have reached a verdict. The jury foreperson should keep the
verdict form and bring it when the jury is brought back into the courtroom. |

Signed shige ‘day of December, 2017, /
